Case 17-13671-mkn Doc16 Entered 07/19/17 15:16:21 Page1of3

Fill in this information to identify your.case:

Check as directed in lines 17-and 21:

According to the calculations required by this

Debtor 1 HAIG BOGHOSSIAN Statement:

 

Debtor 2 SANDRA BOGHOSSIAN

(Spouse, if filing)

BE .. Disposable income is not determined under

 

11 U.S.C. § 1325(b)(3).

2. Disposable income is determined under 11
U.S.C. § 1325(b)(3).

United States Bankruptcy Court forthe: District of Nevada

 

Case number 17-13671-mkn

(if known)

 

 

3. The commitment period is 3 years.

 

Cl 4. The commitment period is 5 years.

 

 

 

C Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Calculate Your Average Monthly Income

41. What is your marital and filing status? Check one only.
0) Not married. Fill out Column A, lines 2-11.

EE Married. Fill out both Columns A and B, lines 2-11.

 

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fillin the result. Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $ 0.00 §$ 0.00
3. Alimony and maintenance payments. Do not include payments from a spouse if — 7
Column B is filled in. $ 0.00 § 0.00

 

4. Allamounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not

 

 

 

 

 

 

filled in. Do not include payments you listed on line 3. $ 0.00 § 0.00
5. Net income from operating a business,

profession, or farm Debtor 1.

Gross receipts (before all deductions) $ 4,000.00

Ordinary and necessary operating expenses -$ 0.00

i i Co

Motogeion or farm from a business, $ 4,000.00 here -> $ 4,000.00 ¢ 0.00
6. Net income from rental and other real property Debtor 1

Gross receipts (before all deductions) $ 0.00

Ordinary and necessary operating expenses $ 0.00

Net monthly income from rental or other real property $ 0.00 Copy here -> $ 0.00 = $ 0.00

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Catculation of Commitment Period page 1

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Case 17-13671-mkn Doc16 Entered 07/19/17 15:16:21 Page 2 of 3
pebior1 HAIG BOGHOSSIAN

 

 

 

Debtor2 SANDRA BOGHOSSIAN Case number (if known) 17-13671-mkn
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
7. Interest, dividends, and royalties $ 9.00 $ 0.00
8. Unemployment compensation $ 0.00 $ 0.00

 

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

For you $ 0.00
For your spouse $ 0.00

 

 

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0.00 ¢ 0.00

10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

total below.
$ 0.00 $ 0.00
$ 0.00 $ 0.00
Total amounts from separate pages, if any. + §$ 0.00 $ 0.00
11. Calculate your total average monthly income. Add lines 2 through 10 for al
each column. Then add the total for Column A to the total for Column B. $ 4,000.00 (+s 0.00 (=s 4,000.00
Total average
monthly income
Determine How to Measure Your Deductions from Income
12. Copy your total average monthly income from line 11. $ 4,000.00

 

13. Calculate the marital adjustment. Check one:
C] You are not married. Fill in 0 below.

Hl You are married and your spouse is filing with you. Fill in 0 below.

(You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional -
adjustments on a separate page.

{f this adjustment does not apply, enter 0 below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
$
+S
Total $ 0.00 Copy here=> . 0.00
14. Your current monthly income. Subtract line 13 from line 12. $ 4,000.00
15. Calculate your current monthly income for the year. Follow these steps:
15a. Copy line 14 here=> S$ 4,000.00
Multiply line 15a by 12 (the number of months in a year). x 12
15b. The result is your current monthly income for the year for this part of the form. ooo. ceesteeeeneee $ 48,000.00
Official Form 122C-1 Chapter 13 Statement of Your Current Monthly income and Calculation of Commitment Period page 2

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Case 17-13671-mkn Doc16 Entered 07/19/17 15:16:21 Page 3of3

Debtor, HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN Case number (ifknown) 17-13671-mkn

 

 

16. Calculate the median family income that applies to you. Follow these steps:

16a. Fill in the state in which you live. NV
16b. Fill in the number of people in your household. 3
16c. Fill in the median family income for your state and size of household. ¢ 61,983.00

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

17a. [Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Caf/culation of Your Disposable Income (Official Form 122C-2).

17b. (1 Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
your current monthly income from line 14 above.

Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 

18. Copy your total average monthly income from line 11. $ 4,000.00

 

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
spouse's income, copy the amount from line 13.

19a. If the marital adjustment does not apply, fill in 0 on line 19a. ~$ 0.00

 

19b. Subtract line 19a from line 18. $ 4,000.00

 

 

 

20. Calculate your current monthly income for the year. Follow these steps:

 

 

 

 

20a. Copy line 19b 3 4,000.00
Multiply by 12 (the number of months in a year). x 12

20b. The result is your current monthly income for the year for this part of the form $ 48,000.00

20c. Copy the median family income for your state and size of household from line 1600 $ 61,983.00

 

 

 

21. How do the lines compare?

Ei Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
period is 3 years. Go to Part 4.

(1 Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
commitment period is 5 years. Go to Part 4.

 

Sign Below
By signing here, under penalty of perjury | declare that the information on this statement and in any attachments is true and correct.

 

 

 

 

X fsi HAIG BOGHOSSIAN X /si SANDRA BOGHOSSIAN
HAIG BOGHOSSIAN SANDRA BOGHOSSIAN
Signature of Debtor 1 Signature of Debtor 2

Date July 19, 2017 Date July 19, 2017
MM/DD /YYYY MM/DD /YYYY

If you checked 17a, do NOT fill out or file Form 122C-2.

 

lf you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

 

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3
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